       Case 2:21-cv-01436-MJH Document 1 Filed 10/20/21 Page 1 of 27



                     UNITED STATES DISTRICT COURT
                   WESTERN DISTRICT OF PENNSYLVANIA

________________________________________________
ROBYN SHAW AND ROBERT SHAW, III, w/h             :     NO. 2:21-cv-1436
300 Morewood Avenue                              :
Blairsville, PA 15717                            :
                                                 :   JURY TRIAL DEMANDED
        and                                      :
                                                 :
ROBYN SHAW AND ROBERT SHAW, III                  :
as Parents and Natural Guardians of              :
AS and TS, minors                                :
300 Morewood Avenue                              :
Blairsville, PA 15717                            :
                                                 :
                                    Plaintiffs,  :
                                                 :
        v.                                       :
                                                 :
MAGIC TIME INTERNATIONAL, LTD.                   :
International Plaza                              :
20 Sheung Yuet Road                              :
Kowloon Bay, Hong Kong                           :
                                                 :
        and                                      :
                                                 :
WAL-MART STORES, INC.                            :
c/o CT Corporation System                        :
818 West 7th Street, Suite 930                   :
Los Angeles, California 90017                    :
                                                 :
                                                 :
                                                 :
                                    Defendants.  :
_______________________________________________ :
             Case 2:21-cv-01436-MJH Document 1 Filed 10/20/21 Page 2 of 27




                                   CIVIL ACTION COMPLAINT

        Plaintiffs, Robyn Shaw and Robert Shaw, wife and husband, by and through their

undersigned counsel, Kline & Specter, P.C., hereby bring this action against Defendants, Magic

Time International, Ltd. and Wal-Mart Stores, Inc., and in support thereof aver as follows:

                                               PARTIES

        1.       Plaintiffs, Robyn Shaw and Robert Shaw, III, wife and husband, are citizens and

residents of the Commonwealth of Pennsylvania, residing therein at 300 Morewood Avenue,

Blairsville, Pennsylvania 15717.

        2.       Defendant, Magic Time International, Ltd. (“Magic Time”), is a corporation duly

organized and existing under the laws of Hong Kong, with its principal place of business located

at 20 Sheuing Yuet Road, Kowloon Bay, Hong Kong. At all relevant times hereto, Defendant

Magic Time conducted systematic and continuous business activity within this judicial district.

        3.       Defendant Magic Time, through its wholly owned and indirectly owned

subsidiaries, distributes products for sale at retail stores within this judicial district, including, inter

alia, the Wal-Mart store located at 100 Colony Lane, Latrobe, PA 15650.

        4.       Defendant, Wal-Mart Stores, Inc. (“Wal-Mart”), is a corporation duly organized

and existing under the laws of the State of Delaware, with its principal place of business located

at 818 West 7th Street, Suite 930, Los Angeles, California 90017. At all relevant times hereto,

Wal-Mart conducted systematic and continuous business activity within this judicial district.

        5.       Wal-Mart owns and operates retail stores within this judicial district, including,

inter alia, the Wal-Mart store located at 100 Colony Lane, Latrobe, PA 15650.

        6.       Subject matter jurisdiction is proper pursuant to 28 U.S.C. § 1332 because Plaintiffs

and Defendants are residents of separate states and because the amount in controversy is in excess
             Case 2:21-cv-01436-MJH Document 1 Filed 10/20/21 Page 3 of 27




of seventy-five thousand dollars ($75,000.00) exclusive of interest and costs.

        7.       The events giving rise to this cause of action took place in Indiana County,

Pennsylvania.

                                       OPERATIVE FACTS

        8.       In the fall of 2019, Dora Alsippi, mother of Plaintiff, Robyn Shaw (“Mrs. Shaw”)

purchased a “Flying Fairy” toy (“the subject toy”) from a Wal-Mart store located at in Latrobe,

Pennsylvania.

        9.       The subject toy’s component parts include a plastic flower base or “launcher,” a

plastic launch cord, and a plastic fairy. See Flying Fairy box images, attached collectively hereto

as Exhibit “A.”

        10.      A toy user may launch the plastic fairy into the air by placing the fairy’s post into

the coupler located on the launcher, then pulling the launch cord. As the user pulls the launch

cord, the fairy begins to turn and its wings expand until it releases into the air. See Exhibit “A.”

The fairy may launch as high as nine feet into the air before it descends. See id.

        11.      Upon information and belief, Defendant Magic Time began producing and

manufacturing the subject toy for sale at some point after its incorporation in 2009.

        12.      Prior to Defendant Magic Time’s launch of the subject toy, the United States

Consumer Product Safety Commission (“CPSC”) issued recall notices and safety notifications for

at least three flying fairy dolls with substantial similarities in design to the subject toy.

        13.      In 1997, toy manufacturer Placo Products Company, in cooperation with the CPSC,

issued a recall and safety notification for Star Wonders “flying dolls” after receiving reports of

serious eye injuries incurred during use, including, inter alia, corneal abrasions, torn retinas, and

blindness.



                                                   2
          Case 2:21-cv-01436-MJH Document 1 Filed 10/20/21 Page 4 of 27




       14.     Upon information and belief, Star Wonders flying dolls operated identically to the

subject toy; a user could launch the doll into the air by pulling the doll’s launch cord, which would

cause the doll’s wings to rotate and the doll’s body to launch into the air.

       15.     In 1998, toy manufacturer Tara Toy Corporation, in cooperation with the CPSC,

issued a recall and safety notification for a “flying doll” toy, after receiving reports of children

suffering serious eye injuries incurred during use, including, inter alia, a shattered iris and cataract

development requiring an artificial lens and resulting in partial loss of sight.

       16.     Upon information and belief, Tara Toy Corporation’s flying dolls operated

identically to the subject toy; a user could launch the doll into the air by pulling the doll’s launch

cord, which would cause the doll’s wings to rotate and the doll’s body to launch into the air.

       17.     In 2000, toy manufacturer Hasbro, Inc. in cooperation with the CPSC issued a recall

and safety notification for Sky Dancer “flying dolls” after receiving reports that the dolls launched

rapidly and in unpredictable directions, causing injury to users, including, inter alia, eye injuries

such as scratched corneas, incidents of temporary blindness, and broken teeth.

       18.     Upon information and belief, Sky Dancer “flying dolls” operated identically to the

subject toy; a user could launch the doll into the air by pulling the doll’s launch cord, which would

cause the doll’s wings to rotate and the doll’s body to launch into the air.

       19.     Given the 1997, 1998, and 2000 recall notices and safety notifications issued

regarding the above-referenced toys, which were substantially similar in design and operated

identically to the subject toy, Defendants, whose business is manufacturing, selling, and/or

distributing children’s toys, knew or reasonably should have known as early as 1997 of the inherent

dangers associated with the subject toy, including the foreseeable risk of eye injury.

       20.     Despite their knowledge of the inherent dangers associated with the subject toy,



                                                   3
          Case 2:21-cv-01436-MJH Document 1 Filed 10/20/21 Page 5 of 27




including the foreseeable risk of eye injury, Defendants negligently and recklessly failed to

adequately design the subject toy or warn of the dangers associated with it.

       21.       On October 24, 2019, Mrs. Shaw and her two minor children opened the subject

toy and began to play with it outside in their neighbor’s yard.

       22.       Upon opening the subject toy’s box, there were no obvious defects observed in the

box or the toy’s component parts.

       23.       Prior to October 24, 2019, Mrs. Shaw had never opened the subject toy’s box or

attempted to use it.

       24.       After reading the subject toy’s directions, opening the box, and removing it for use,

Mrs. Shaw successfully launched the fairy into the air two times in an open area by standing back,

holding the subject toy’s launcher upright, at arm’s length, and away from her face, turning the

fairy’s head forward, and pulling the launch cord in a smooth continuous motion per the toy’s

instructions.

       25.       Mrs. Shaw did not aim the fairy at her eyes or face, any other individual, animal,

and/or object.

       26.       As a result of the product defects associated with the subject toy, when Mrs. Shaw

attempted to launch the fairy into the air for the third time in the same manner, instead of flying

upward, the toy flew directly into Mrs. Shaw’s right eye.

       27.       Upon impact, Mrs. Shaw experienced extreme pain and could not open her eye.

       28.       Dora Alsippi immediately transported Mrs. Shaw to the Emergency Room at

Indiana Regional Medical Center located at 835 Hospital Road Indiana, PA 15701.

       29.       Upon arrival at Indiana Regional Medical Center, Mrs. Shaw complained of 10/10

pain and was noted to have decreased visual acuity in her right eye.



                                                   4
          Case 2:21-cv-01436-MJH Document 1 Filed 10/20/21 Page 6 of 27




       30.     Examination of Mrs. Shaw’s right eye revealed excessive tearing, an irregular

pupil, an injected sclera, and a subconjunctival hemorrhage on the right side of the eye.

       31.     Mrs. Shaw was diagnosed with traumatic iritis of the ribs with a concern for

possible Seidel sign and was referred to the University of Pittsburgh Medical Center (“UPMC”)

for further treatment.

       32.     On October 24, 2019, Mrs. Shaw presented to UPMC Emergency Department,

where she underwent additional work up for traumatic iritis and was referred to a trauma

ophthalmologist.

       33.     On October 29, 2019, Mrs. Shaw presented to Evan Waxman, MD, PhD (“Dr.

Waxman”) for further care.

       34.     Upon presentation to Dr. Waxman, Mrs. Shaw complained of “[l]ittle improvement

in vision,” “pain and headaches” and “seeing stars” when she stood up.

       35.     Upon examination, Mrs. Shaw’s visual acuity was recorded as 20/800 in her right

eye.

       36.     Dr. Waxman diagnosed Mrs. Shaw with traumatic iritis and a traumatic corneal

abrasion of the right eye and prescribed medication and an eye patch.

       37.     Since being diagnosed with traumatic iritis and a traumatic corneal abrasion of the

right eye, Mrs. Shaw has continued to experience, pain, headaches, floaters, a dilated pupil of the

right eye, decreased visual acuity of the right eye, and a cataract of the right eye.

       38.     As a result of the product defects associated with the subject toy, Mrs. Shaw has

suffered and will continue to suffer severe and permanent injuries, including, inter alia, the

following:

               a.        Traumatic iritis;



                                                  5
          Case 2:21-cv-01436-MJH Document 1 Filed 10/20/21 Page 7 of 27




                b.     Traumatic corneal abrasion;

                c.     Cataract;

                d.     Headaches;

                e.     Eye pain;

                f.     Loss of vision;

                g.     Disfigurement;

                h.     Embarrassment;

                i.     Past loss of life’s pleasures;

                j.     Future loss of life’s pleasures;

                k.     Wage loss;

                l.     Past medical expenses;

                m.     Future medical expenses;

                n.     Past pain and suffering;

                o.     Future physical pain and suffering;

                p.     Past mental anguish;

                q.     Future mental anguish;

                r.     Past and future severe emotional distress; and

                s.     Other damages as provided by Pennsylvania law.

                                         COUNT I
                          STRICT LIABILITY – DESIGN DEFECT
                           Plaintiff Robyn Shaw v. All Defendants

       39.      Plaintiffs incorporate by reference all of the above paragraphs as though set forth

fully herein.




                                                  6
          Case 2:21-cv-01436-MJH Document 1 Filed 10/20/21 Page 8 of 27




       40.     At all relevant times hereto, Defendants knew or should have known of the

foreseeable risk of eye injury inherent in the design of the subject toy.

       41.     At the time Defendants designed, manufactured, marketed, sold, and distributed the

subject toy, it was defective in its design, unreasonably dangerous, and unsafe for its intended

purpose because it did not provide adequate protection against the foreseeable risk of eye injury.

Defendants acted negligently and recklessly by failing safely design the subject toy for reasons

including inter alia, the following:

               a.      Failure to properly design the subject toy;

               b.      Failure to properly test the subject toy during the design

                       process;

               c.      Failure to design the subject toy to launch the fairy only as

                       intended, straight into the air;

               d.      Failure to prevent the subject toy from launching the fairy at

                       unsafe angles and in unpredictable directions, including

                       toward the user’s face;

               e.      Failure to incorporate any safety features into the design of

                       the subject toy, including but not limited to a locking feature

                       and/or safety lock, to prevent the fairy from launching at

                       unsafe angles and/or in unpredictable directions, including

                       toward the user’s face;

               f.      Failure to use proper quality control and inspection policies

                       and procedures to ensure that the fairy only launched straight




                                                  7
Case 2:21-cv-01436-MJH Document 1 Filed 10/20/21 Page 9 of 27




          into the air and not at unsafe angles and/or in unpredictable

          directions, including toward the user’s face;

    g.    Failure to use proper quality control and inspection policies

          and procedures to incorporate appropriate safety features in

          the design of the subject toy, including but not limited to a

          locking feature and/or safety lock, to prevent the launch of

          the fairy at unsafe angles and/or in unpredictable directions,

          including toward the user’s face;

    h.    Failure to promulgate and enforce proper quality control and

          inspection policies and procedures to ensure that appropriate

          materials were utilized in the design and/or production of the

          subject toy;

    i.    Failure to provide alternative designs to ensure that the fairy

          only launched straight into the air and not at unsafe angles

          and/or in unpredictable directions, including toward the

          user’s face;

    j.    Failure to employ and consult with properly qualified,

          licensed engineers and/or other professionals in order to

          ensure that the subject toy would be engineered with all

          elements necessary for safety as required by Pennsylvania

          law;




                                    8
         Case 2:21-cv-01436-MJH Document 1 Filed 10/20/21 Page 10 of 27




               k.      Failure to equip the subject toy with all elements necessary

                       for safety, despite the known and foreseeable risk of eye

                       injury; and

               l.      Failure to properly design, test, assemble, engineer, inspect,

                       distribute, sell, market and advertise the subject toy,

                       rendering it defective and unfit for safe use.

       42.     When the subject toy left the control of Defendants, it lacked all elements necessary

for safety and therefore was defective in its design.

       43.     The subject toy reached Plaintiff Robyn Shaw without substantial change in the

condition in which it was designed and distributed by Defendants.

       44.     At all relevant times, Plaintiff Robyn Shaw used the subject toy in a reasonably

foreseeable manner.

       45.     Defendants knew or should have known about the defective nature of the subject

toy, and acted in conscious disregard of its known defects by continuing to manufacture, market,

sell, and distribute a defective product.

       46.     The defective design and unreasonably dangerous condition of the subject toy were

direct and proximate causes of Plaintiff Robyn Shaw’s severe and permanent injuries, as

previously set forth herein.

       47.     Defendants are strictly liable to Plaintiff Robyn Shaw for designing a defective and

unreasonably dangerous product. The inherent risks associated with the product outweighed the

benefits of its use, as a safer alternative design was economically and technologically feasible at

the time the product left the control of Defendants. As such, Plaintiff Robyn Shaw is entitled to

recover for her injuries.



                                                  9
         Case 2:21-cv-01436-MJH Document 1 Filed 10/20/21 Page 11 of 27




       WHEREFORE, Plaintiffs demand judgment in their favor and against Defendants, jointly

and severally, with all Defendants named herein, for compensatory and punitive damages, in a

sum in excess of seventy-five thousand dollars ($75,000.00) exclusive of interest and costs.

                                         COUNT II
                     STRICT LIABILITY – MANUFACTURING DEFECT
                           Plaintiff Robyn Shaw v. All Defendants

       48.      Plaintiffs incorporate by reference all of the above paragraphs as though set forth

fully herein.

       49.      At all relevant times hereto, Defendants knew or should have known of the

foreseeable risk of eye injury inherent in the design of the subject toy.

       50.      At the time Defendants designed, manufactured, sold, marketed, and distributed the

subject toy, it was defective in its manufacturing, unreasonably dangerous, and unsafe for its

intended purpose because it did not provide adequate protection against the foreseeable risk of eye

injury. Defendants acted negligently and recklessly by failing to safely manufacture the subject

toy for reasons including, inter alia, the following:

                a.     Failure to properly manufacture the subject toy;

                b.     Failure to properly test the subject toy during the

                       manufacturing process;

                c.     Failure to manufacture the subject toy to launch the fairy

                       only as intended, straight into the air;

                d.     Failure to prevent the subject toy from launching the fairy at

                       unsafe angles and in unpredictable directions, including

                       toward the user’s face;




                                                 10
Case 2:21-cv-01436-MJH Document 1 Filed 10/20/21 Page 12 of 27




    e.    Failure to incorporate any safety features into the design of

          the subject toy, including but not limited to a locking feature

          and/or safety lock, to prevent the fairy from launching at

          unsafe angles and/or in unpredictable directions, including

          toward the user’s face;

    f.    Failure to use proper quality control and inspection policies

          and procedures to ensure that the fairy only launched straight

          into the air and not at unsafe angles and/or in unpredictable

          directions, including toward the user’s face;

    g.    Failure to use proper quality control and inspection policies

          and procedures to incorporate appropriate safety features in

          the design of the subject toy, including but not limited to a

          locking feature and/or safety lock, to prevent the launch of

          the fairy at unsafe angles and/or in unpredictable directions,

          including toward the user’s face;

    h.    Failure to promulgate and enforce proper quality control and

          inspection policies and procedures to ensure that appropriate

          materials were utilized in the design and/or production of the

          subject toy;

    i.    Failure to provide alternative designs to ensure that the fairy

          only launched straight into the air and not at unsafe angles

          and/or in unpredictable directions, including toward the

          user’s face;



                                    11
         Case 2:21-cv-01436-MJH Document 1 Filed 10/20/21 Page 13 of 27




               j.      Failure to employ and consult with properly qualified,

                       licensed engineers and/or other professionals in order to

                       ensure that the subject toy would be engineered with all

                       elements necessary for safety as required by Pennsylvania

                       law;

               k.      Failure to equip the subject toy with all elements necessary

                       for safety, despite the known and foreseeable risk of eye

                       injury; and

               l.      Failure to properly manufacture, test, assemble, engineer,

                       inspect, distribute, sell, market and advertise the subject toy,

                       rendering it defective and unfit for safe use.

       51.     When the subject toy left the control of Defendants, it lacked all elements necessary

for safety and therefore was defective in its manufacturing.

       52.     The subject toy reached Plaintiff Robyn Shaw without substantial change in the

condition in which it was manufactured and distributed by Defendants.

       53.     At all relevant times, Plaintiff Robyn Shaw used the subject toy in a reasonably

foreseeable manner.

       54.     Defendants knew or should have known about the defective nature of the subject

toy, and acted in conscious disregard of its known defects by continuing to manufacture, market,

sell, and distribute a defective product.

       55.     The manufacturing defects in the subject toy were the direct and proximate cause

of Plaintiff’s severe and permanent injuries, as previously set forth herein.

       56.     Defendants are strictly liable for manufacturing and placing into the stream of



                                                 12
         Case 2:21-cv-01436-MJH Document 1 Filed 10/20/21 Page 14 of 27




commerce a defective and unreasonably dangerous product. The inherent risks associated with the

product outweighed the benefits of its use, as a safer alternative design was economically and

technologically feasible at the time the product left the control of Defendants. As such, Plaintiff

Robyn Shaw is entitled to recover for her injuries.

       WHEREFORE, Plaintiffs demand judgment in their favor and against Defendants, jointly

and severally, with all Defendants named herein, for compensatory and punitive damages, in a

sum in excess of seventy-five thousand dollars ($75,000.00) exclusive of interest and costs.

                                         COUNT III
                         STRICT LIABILITY – FAILURE TO WARN
                           Plaintiff Robyn Shaw v. All Defendants

       57.      Plaintiffs incorporate by reference all of the above paragraphs as though set forth

fully herein.

       58.      At all relevant times hereto, Defendants knew or should have known of the

substantial dangers and inherent risks of eye injury involved in the reasonably foreseeable use of

the subject toy.

       59.      Defendants knew or should have known that the substantial dangers and inherent

risks of eye injury involved in the reasonably foreseeable use of the subject toy were not readily

recognizable to an ordinary consumer or user and that such person would use the subject toy

without inspection for defects.

       60.      Defendants knew or should have known of the foreseeable risk of eye injury

inherent in the design of the subject toy.

       61.      Defendants acted negligently and recklessly by failing to provide necessary safety

materials and failing to adequately warn of the substantial dangers and known and foreseeable risk

of eye injury, by failing to provide warnings regarding inter alia, the following:



                                                13
         Case 2:21-cv-01436-MJH Document 1 Filed 10/20/21 Page 15 of 27




               a.      the risk that the subject toy would launch the fairy at unsafe

                       angles and in unpredictable directions, including toward the

                       user’s face;

               b.      the risk that the subject toy would fail to prevent the fairy

                       from launching at an unsafe angle or in an unpredictable

                       direction, including toward the user’s face, even when used

                       in accordance with the toy’s instructions;

               c.      the limitations of the subject toy, especially in light of its

                       defective design as previously set forth herein;

               d.      the inferior quality of the subject toy, especially in light of

                       its defective design as previously set forth herein; and

               e.      post-sale modifications and additional warnings in an effort

                       to eliminate the unreasonably dangerous nature of the

                       subject toy.

       62.     Any such safety material and/or warning that may have been provided and/or

attached to the subject toy was nullified or rendered ineffective by contrary representations made

by Defendants regarding the safety of the subject toy.

       63.     As a result of Defendants’ recklessness and failure to adequately warn, Plaintiff

Robyn Shaw neither knew nor had reason to know about the existence of defects in the subject

toy, as previously set forth herein.

       64.     At all relevant times hereto, Plaintiff Robyn Shaw used the subject toy in a

reasonably foreseeable manner.

       65.     Defendants’ failure to warn of the substantial dangers and inherent risks of eye



                                                 14
           Case 2:21-cv-01436-MJH Document 1 Filed 10/20/21 Page 16 of 27




injury associated with the reasonably foreseeable use of the subject toy was the direct and

proximate cause of Plaintiff Robyn Shaw’s severe and permanent injuries, as previously set forth

herein.

          66.   Defendants are strictly liable for failing to warn consumers and users of the

substantial dangers and inherent risks of eye injury associated with the reasonably foreseeable use

of the subject toy. As such, Plaintiff Robyn Shaw is entitled to recover for her injuries.

          WHEREFORE, Plaintiffs demand judgment in their favor and against Defendants, jointly

and severally, with all Defendants named herein, for compensatory and punitive damages, in a

sum in excess of seventy-five thousand dollars ($75,000.00) exclusive of interest and costs.

                                            COUNT IV
                                          NEGLIGENCE
                              Plaintiff Robyn Shaw v. All Defendants

          67.   Plaintiffs incorporate by reference all of the above paragraphs as though set forth

fully herein.

          68.   At all relevant times hereto, Defendants owed a duty to consumers to use reasonable

care in the manner in which it designed, manufactured, marketed, sold, and distributed the subject

toy.

          69.   At all relevant times hereto, Defendants knew or should have known of the

foreseeable risk of eye injury inherent in the design of the subject toy.

          70.   Defendants breached the duty of care they assumed to consumers and were

negligent, careless, and reckless in designing, manufacturing, marketing, selling, and distributing

the subject toy for reasons which include, inter alia, the following:

                a.     Failure to properly design and/or manufacture the subject

                       toy;



                                                 15
Case 2:21-cv-01436-MJH Document 1 Filed 10/20/21 Page 17 of 27




    b.    Failure to properly test the subject toy during the design

          and/or manufacturing process;

    c.    Failure to design and/or manufacture the subject toy to

          launch the fairy only as intended, straight into the air;

    d.    Failure to prevent the subject toy from launching the fairy at

          unsafe angles and in unpredictable directions, including

          toward the user’s face;

    e.    Failure to incorporate any safety features into the design of

          the subject toy, including but not limited to a locking feature

          and/or safety lock, to prevent the fairy from launching at

          unsafe angles and/or in unpredictable directions, including

          toward the user’s face;

    f.    Failure to use proper quality control and inspection policies

          and procedures to ensure that the fairy only launched straight

          into the air and not at unsafe angles and/or in unpredictable

          directions, including toward the user’s face;

    g.    Failure to use proper quality control and inspection policies

          and procedures to incorporate appropriate safety features in

          the design of the subject toy, including but not limited to a

          locking feature and/or safety lock, to prevent the launch of

          the fairy at unsafe angles and/or in unpredictable directions,

          including toward the user’s face;




                                    16
         Case 2:21-cv-01436-MJH Document 1 Filed 10/20/21 Page 18 of 27




               h.      Failure to promulgate and enforce proper quality control and

                       inspection policies and procedures to ensure that appropriate

                       materials were utilized in the design and/or production of the

                       subject toy;

               i.      Failure to provide alternative designs to ensure that the fairy

                       only launched straight into the air and not at unsafe angles

                       and/or in unpredictable directions, including toward the

                       user’s face;

               j.      Failure to employ and consult with properly qualified,

                       licensed engineers and/or other professionals in order to

                       ensure that the subject toy would be engineered with all

                       elements necessary for safety as required by Pennsylvania

                       law;

               k.      Failure to equip the subject toy with all elements necessary

                       for safety, despite the known and foreseeable risk of eye

                       injury; and

               l.      Failure to properly manufacture, test, assemble, engineer,

                       inspect, distribute, sell, market and advertise the subject toy,

                       rendering it defective and unfit for safe use.

       71.     Defendants’     negligence,    carelessness,    and      recklessness   in   designing,

manufacturing, marketing, selling, and distributing the subject helmet were the direct and

proximate cause of Plaintiff Robyn Shaw’s severe and permanent injuries, as previously set forth

herein. As such, Plaintiff Robyn Shaw is entitled to recover for her injuries.



                                                 17
         Case 2:21-cv-01436-MJH Document 1 Filed 10/20/21 Page 19 of 27




       WHEREFORE, Plaintiffs demand judgment in their favor and against Defendants, jointly

and severally, with all Defendants named herein, for compensatory and punitive damages, in a

sum in excess of seventy-five thousand dollars ($75,000.00) exclusive of interest and costs.



                                           COUNT V
                                    MISREPRESENTATION
                             Plaintiff Robyn Shaw v. All Defendants

       72.      Plaintiffs incorporate by reference all of the above paragraphs as though set forth

fully herein.

       73.      At all relevant times hereto, Defendants knew or should have known of the

foreseeable risk of eye injury inherent in the design of the subject toy.

       74.      Defendants negligently and recklessly misrepresented material facts regarding the

safety of the subject toy, including, inter alia, the following:

                a.     marketing and advertising the subject toy as safe for use;

                b.     failing to issue any warnings regarding the limitations of

                       subject toy, especially in light of its defective design as

                       previously set forth herein;

                c.     failing to issue any warnings the inferior quality of the

                       subject toy, especially in light of its defective design as

                       previously set forth herein; and

                d.     failing to issue any post-sale modifications or additional

                       warnings in an effort to eliminate the unreasonably

                       dangerous nature of the subject toy, which were reasonably

                       foreseeable.



                                                  18
         Case 2:21-cv-01436-MJH Document 1 Filed 10/20/21 Page 20 of 27




        75.     Defendants knew or should have known that consumers, including Plaintiff Robyn

Shaw, would accept the material misrepresentations made regarding the subject toy’s safety as true

and accurate.

        76.     Defendants knew or should have known that consumers, including Plaintiff Robyn

Shaw, would rely on the material misrepresentations made regarding the subject toy’s safety when

deciding whether to purchase and use it.

        77.     Defendants made material misrepresentations regarding the safety of the subject

toy with the intent to induce consumers, including Plaintiff Robyn Shaw, to purchase and use it.

        78.     Plaintiff Robyn Shaw justifiably relied on Defendants’ material misrepresentations

regarding the safety of the subject toy when deciding whether to use it on October 24, 2019.

        79.     As a direct and proximate result of Defendants’ material misrepresentations,

Plaintiff Robyn Shaw suffered severe and permanent injuries while using the subject toy in a

reasonably foreseeable manner, as previously set forth herein. As such, Plaintiff Robyn Shaw is

entitled to recover for her injuries.

        WHEREFORE, Plaintiffs demand judgment in their favor and against Defendants, jointly

and severally, with all Defendants named herein, for compensatory and punitive damages, in a

sum in excess of seventy-five thousand dollars ($75,000.00) exclusive of interest and costs.

                                           COUNT VI
                             BREACH OF EXPRESS WARRANTY
                             Plaintiff Robyn Shaw v. All Defendants

        80.     Plaintiffs incorporate by reference all of the above paragraphs as though set forth

fully herein.

        81.     At all relevant times hereto, Defendants knew or should have known of the

foreseeable risk of eye injury inherent in the design of the subject toy.



                                                 19
         Case 2:21-cv-01436-MJH Document 1 Filed 10/20/21 Page 21 of 27




       82.      In designing, manufacturing, marketing, selling, and distributing the subject toy,

Defendants expressly warranted that the subject toy was safe for use.

       83.         In designing, manufacturing, marketing, selling, and distributing, the subject toy,

Defendants expressly warranted that it featured a safety lock which would prevent the fairy from

launching at unsafe angles and in unpredictable directions.

       84.      At the time Defendants designed, manufactured, marketed, sold, and distributed the

subject toy, Defendants were aware that the ultimate user of the subject toy, in this case Plaintiff

Robyn Shaw, would be relying on Defendants’ skill and judgment in designing and manufacturing

the subject toy.

       85.      Defendants breached their express warranty by designing, manufacturing,

marketing, selling, and distributing the subject toy when it was defective and unsafe for reasonably

foreseeable use.

       86.      As a direct and proximate result of Defendants’ breach of their express warranties,

Plaintiff Robyn Shaw suffered severe and permanent injuries while using the subject toy, as

previously set forth herein. As such, Plaintiff Robyn Shaw is entitled to recover for her injuries.


       WHEREFORE, Plaintiffs demand judgment in their favor and against Defendants, jointly

and severally, with all Defendants named herein, for compensatory and punitive damages, in a

sum in excess of seventy-five thousand dollars ($75,000.00) exclusive of interest and costs.

                                            COUNT VII
                               BREACH OF IMPLIED WARRANTY
                               Plaintiff Robyn Shaw v. All Defendants

       87.      Plaintiffs incorporate by reference all of the above paragraphs as though set forth

fully herein.




                                                   20
         Case 2:21-cv-01436-MJH Document 1 Filed 10/20/21 Page 22 of 27




        88.     At all relevant times hereto, Defendants knew or should have known of the

foreseeable risk of eye injury inherent in the design of the subject toy.

        89.     In designing, manufacturing, marketing, selling, and distributing, the subject toy,

Defendants impliedly represented that the subject toy was merchantable, fit for its ordinary and

particular purpose, and free from defects.

        90.     At all relevant times hereto, Plaintiff Robyn Shaw used the subject toy for the

particular and ordinary purpose for which it was sold, namely, by pulling on the toy’s launcher in

order to release the fairy into the air.

        91.     At the time Defendants designed, manufactured, marketed, sold, and distributed the

subject toy, Defendants were aware that the ultimate user of the toy, in this case Plaintiff Robyn

Shaw, would be relying on Defendants’ skill and judgment in designing and manufacturing the

toy.

        92.     Defendants breached their implied warranties of merchantability and of fitness for

a particular purpose by designing, manufacturing, marketing, selling, and distributing the subject

toy in a defective and unsafe condition.

        93.     As a direct and proximate result of Defendants’ breach of their implied warranties,

Plaintiff Robyn Shaw suffered severe and permanent injuries while using the subject toy, as

previously set forth herein. As such, Plaintiff Robyn Shaw is entitled to recover for her injuries.

        WHEREFORE, Plaintiffs demand judgment in their favor and against Defendants, jointly

and severally, with all Defendants named herein, for compensatory and punitive damages, in a

sum in excess of seventy-five thousand dollars ($75,000.00) exclusive of interest and costs.




                                                 21
         Case 2:21-cv-01436-MJH Document 1 Filed 10/20/21 Page 23 of 27




                                          COUNT VIII
                                        MALFUNCTION
                             Plaintiff Robyn Shaw v. All Defendants

       94.      Plaintiffs incorporate by reference all of the above paragraphs as though set forth

fully herein.

       95.      The subject toy malfunctioned during Plaintiff Robyn Shaw’s third pull of the

fairy’s launch cord on October 24, 2019, resulting in the subject toy flying directly into Plaintiff

Robyn Shaw’s right eye.

       96.      At the time, the subject toy was being used in its normal or anticipated use and

pursuant to the subject toy’s instructions.

       97.      As a direct and proximate result of this malfunction, Plaintiff Robyn Shaw suffered

the injuries and damages set forth above.

       98.      Defendant Magic Time knew or should have known of problems of this nature and

a similar nature with its Flying Fairy toy and acted in conscious disregard of a known risk to public

safety, and its conduct was wanton, willful, and reckless, warranting the imposition of punitive

damages.

       WHEREFORE, Plaintiffs demand judgment in their favor and against Defendants, jointly

and severally, with all Defendants named herein, for compensatory and punitive damages, in a

sum in excess of seventy-five thousand dollars ($75,000.00) exclusive of interest and costs.

                                          COUNT IX
                                   LOSS OF CONSORITUM
                          Plaintiff Robert Shaw, III v. All Defendants

       99.      Plaintiffs incorporate by reference all of the above paragraphs as though fully set

forth herein.




                                                 22
           Case 2:21-cv-01436-MJH Document 1 Filed 10/20/21 Page 24 of 27




          100.   At all times relevant hereto, Plaintiff Robert Shaw, III was married, and continues

to be married, to Plaintiff Robyn Shaw.

          101.   As a direct and proximate result of the negligence, carelessness, and recklessness

of Defendants, Plaintiff Robert Shaw, III has sustained a loss of services, society, benefits,

comfort, and companionship of his wife, Plaintiff Robyn Shaw, and will continue to do so in the

future.

          102.   As a direct and proximate result of the negligence, carelessness, and recklessness

of Defendants, Plaintiff Robert Shaw, III claims the full measure of damages allowable under

Pennsylvania law for the loss of consortium of his wife, Plaintiff Robyn Shaw.

          WHEREFORE, Plaintiffs demand judgment in their favor and against Defendants, jointly

and severally, with all Defendants named herein, for compensatory and punitive damages, in a

sum in excess of seventy-five thousand dollars ($75,000.00) exclusive of interest and costs.

                                     COUNT X
                  NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
                         Minor-Plaintiff AS v. All Defendants

          103.   Plaintiffs incorporate by reference all of the above paragraphs as though fully set

forth herein.

          104.   Minor-Plaintiff AS was present and with his mother, Plaintiff Robyn Shaw, during

the injury to her eye on October 24, 2019 and its aftermath.

          105.   Minor-Plaintiff AS witnessed the subject toy fly directly into Plaintiff Robyn

Shaw’s eye, which occurred as a result of the negligence, carelessness, and recklessness of

Defendants as previously set forth herein, and the consequences of that negligence, carelessness,

and recklessness, as previously set forth herein.




                                                    23
         Case 2:21-cv-01436-MJH Document 1 Filed 10/20/21 Page 25 of 27




       106.     The trauma and shock of Minor-Plaintiff AS’s contemporaneous observance of the

events previously set forth herein caused Minor-Plaintiff AS to suffer in the past, and will continue

to cause him to suffer in the future, severe emotional and psychological distress and injuries,

including but not limited to depression, nightmares, stress, anxiety, and physical and psychological

ailments.

       WHEREFORE, Plaintiffs demand judgment in their favor and against Defendants, jointly

and severally, with all Defendants named herein, for compensatory and punitive damages, in a

sum in excess of seventy-five thousand dollars ($75,000.00) exclusive of interest and costs.

                                   COUNT XI
                 NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
                        Minor-Plaintiff TS v. All Defendants

       107.     Plaintiffs incorporate by reference all of the above paragraphs as though fully set

forth herein.

       108.     Minor-Plaintiff TS was present and with his mother, Plaintiff Robyn Shaw, during

the injury to her eye on October 24, 2019 and its aftermath.

       109.     Minor-Plaintiff TS witnessed the subject toy fly directly into Plaintiff Robyn

Shaw’s eye, which occurred as a result of the negligence, carelessness, and recklessness of

Defendants as previously set forth herein, and the consequences of that negligence, carelessness,

and recklessness, as previously set forth herein.

       110.     The trauma and shock of Minor-Plaintiff TS’s contemporaneous observance of the

events previously set forth herein caused Minor-Plaintiff TS to suffer in the past, and will continue

to cause him to suffer in the future, severe emotional and psychological distress and injuries,

including but not limited to depression, nightmares, stress, anxiety, and physical and psychological

ailments.



                                                    24
         Case 2:21-cv-01436-MJH Document 1 Filed 10/20/21 Page 26 of 27




       WHEREFORE, Plaintiffs demand judgment in their favor and against Defendants, jointly

and severally, with all Defendants named herein, for compensatory and punitive damages, in a

sum in excess of seventy-five thousand dollars ($75,000.00) exclusive of interest and costs.


                                                    Respectfully submitted,

                                                    KLINE & SPECTER, P.C.

                                             By:    /s/ Kila B. Baldwin
                                                    THOMAS R. KLINE, ESQUIRE
                                                    KILA B. BALDWIN, ESQUIRE
                                                    ELIA A. ROBERTSON, ESQUIRE
                                                    Attorney I.D. Nos. 28895 / 94430 / 321277
                                                    Attorneys for Plaintiffs

Dated: 10/20/21




                                               25
         Case 2:21-cv-01436-MJH Document 1 Filed 10/20/21 Page 27 of 27




                                        VERIFICATION


       We, Robyn Shaw and Robert Shaw, III, individually and as parents and natural guardians

of A      S     and T     S      minors, hereby verify that we are the plaintiffs in the foregoing

action; that the attached Complaint is based upon information which we have furnished to our

counsel and information which has been gathered by our counsel in the preparation of the lawsuit.

The language of the Complaint is that of counsel and is not ours. We have read the Complaint and

to the extent that the allegations therein are based upon information we have given counsel, they

are true and correct to the best of our knowledge, information and belief. To the extent that the

contents of the Complaint are that of counsel, we have relied upon counsel in making this

Verification. We understand that false statements made herein are made subject to the penalties

of 18 Pa. C.S.A. §4904 relating to unsworn falsifications to authorities.




       10/19/21
Dated: _________________                             ________________________________
                                                     ROBYN SHAW


                                                     _________________________________
                                                     ROBERT SHAW, III
